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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

       Defendants.



           UNITED STATES’ UNOPPOSED MOTION FOR ENLARGEMENT


       The United States respectfully moves the Court for an enlargement of ten pages to

respond to Defendants’ Joint Motion to Dismiss. (ECF No. 49.) Defendants do not oppose this

motion.

       Defendants were granted an enlargement of three pages for their Joint Motion to Dismiss.

(ECF No. 47.) Subsequently, the Court granted leave to two Amici to file briefs in support of

Defendants’ motion to dismiss, (ECF Nos. 58 & 60), and an additional motion to file an amicus

brief is pending (ECF No. 50). In total, Defendants and Amici have filed approximately forty-six

pages in support of the motion to dismiss.

       Pursuant to the Court’s scheduling order, the United States’ response to Defendants’

motion to dismiss is due by October 19, 2021. (ECF No. 39 at 2.) The United States has

endeavored “very diligently” to limit its response to fifteen pages to comply with the Court’s

practice standard that motions “not exceed 15 pages,” inclusive of the caption, the signature
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block, and the certificate of service. Practice Standards, http://www.cod.uscourts.gov/Portals/0/-

Documents/Judges/RBJ/RBJ_Practice_Standards.pdf?ver =2020-12-08-151330-180. However,

the United States believes that it cannot respond sufficiently to the approximately forty-six pages

of briefing without an enlargement of ten pages, totaling twenty-five pages.

                                         CONCLUSION

       The Court should grant the United States a ten-page enlargement for its response to

Defendants’ motion to dismiss and the supporting amicus briefs.


                                         s/ William J. Vigen
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                                CERTIFICATE OF SERVICE

       I certify that on October 14, 2021, I filed this document with the Clerk of the Court using

the CM/ECF system, which will serve this document on all counsel of record.

                                                    s/ Anthony W. Mariano
                                                    Anthony W. Mariano




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